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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


    SOUTHWEST AIRLINES CO.,

           Plaintiff,

                 v.                                             Civil Action No. 5:24-cv-1085

    THE CITY OF SAN ANTONIO, TEXAS and
    JESUS SAENZ, in his official capacity as
    Director of Airports for the City of San
    Antonio, Texas

           Defendants.


                    DEFENDANTS’ MOTION TO STRIKE
   PLAINTIFF’S DESIGNATION OF TESTIFYING EXPERT KIRK SHAFFER, ESQ.

       Defendants the City of San Antonio, Texas, and Jesus Saenz, in his official capacity as the

Director of Airports for the City of San Antonio, Texas (collectively, the “City”), hereby move to

strike Plaintiff Southwest Airlines Co.’s (“Southwest”) Designation of Testifying Expert Kirk

Shaffer, Esq. (the “Designation”) (attached hereto as Exhibit A), and in support thereof, show as

follows:

                                   I.      INTRODUCTION

       Southwest claims that Exhibit G to the Airline Use and Lease Agreement (“AULA”),

which specifies which airlines will occupy which gates at San Antonio International Airport

(“Airport”) when the new Terminal C opens in late 2028, is preempted by the Airline Deregulation

Act (“ADA”), 49 U.S.C. § 41713(b), because the City relied on subjective factors. Preemption is

a question of law that turns on comparing the scope of the federal law at issue to the terms of the

state law or regulation in question, a question of law that only this Court can answer.
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       The Court has already raised substantial doubt that the City’s action is preempted. To

overcome that doubt, Southwest has designated an attorney as an expert witness to provide an

opinion on the ultimate question of preemption and the City’s compliance with federal law. These

are legal conclusions, which are plainly not permissible as expert testimony.         Further, the

Designation does not demonstrate that Mr. Shaffer’s opinions meet the requirements for admission

expert witness testimony. For these reasons, the Court should strike Southwest’s designation of

Mr. Shaffer as an expert witness.

                    II.   FACTUAL AND PROCEDURAL BACKGROUND

       This case arises from the efforts of the City and its airline partners, including Southwest,

to negotiate a new AULA setting the terms and conditions for the airlines’ use of the Airport,

including its terminal facilities. The City, Southwest, and 13 other airlines serving the Airport

painstakingly negotiated the AULA over the past 2.5 years. A key aspect of the AULA is to

provide for the funding of a new Terminal C at the Airport, planned to open after 2028. ECF

No. 11-1 at ¶ 14. One important issue in negotiations was which airlines would be placed in new

Terminal C once it was constructed. Id. ¶ 23. The City solicited detailed information from the

airlines about their future operational plans, developed evaluation criteria, and ultimately

announced a gate allocation plan in June 2024. Id. ¶ 27; ECF No. 11-2 at ¶¶ 5-10. The City

determined Southwest would remain in Terminal A even after the completion of Terminal C. ECF

No. 11-1 at ¶ 27.

       Dissatisfied with the City’s decision, Southwest filed this lawsuit. ECF No. 1. Southwest

claims that the City’s use of certain criteria to make its gate allocation decision violates the

Supremacy Clause of the U.S. Constitution and the ADA, “because it bases the allocation of

terminal gate space on subjective preferences and criteria that are prohibited by the [ADA].” Id.

44. Southwest also filed a Motion for Preliminary Injunction and Emergency Request for
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Temporary Restraining Order, in which it elaborated on the grounds for its claim that the City’s

actions were in violation of and preempted by the ADA. ECF No. 2 at 12-16. Southwest provided

a review of Congress’s goal in enacting the ADA, the ADA statutory language at issue here,

interpretation of relevant case law, and an application of that law to the facts of this case. Id.

        After a hearing, the Court denied the temporary restraining order. ECF No. 17. At the

Court’s direction, the parties agreed to a briefing schedule for Southwest’s preliminary injunction

request and a plan for limited discovery, including expert designations and depositions. ECF

No. 22. On November 8, 2024, Southwest served the City with the Designation, which the City

now moves to strike.

                            III.    ARGUMENT AND AUTHORITIES

   A.      Legal Standard.

        Federal Rule of Evidence 702 permits expert witness testimony if the proponent

demonstrates it is more likely than not that:

        (a) the expert’s scientific, technical, or other specialized knowledge will help the
        trier of fact to understand the evidence or to determine a fact in issue; (b) the
        testimony is based on sufficient facts or data; (c) the testimony is the product of
        reliable principles and methods; and (d) the expert’s opinion reflects a reliable
        application of the principles and methods to the facts of the case.
This analysis “applies to all proposed expert testimony, including nonscientific ‘technical’ analysis

and other ‘specialized knowledge.’” Albert Sidney Johnston Chapter v. Nirenberg, No. SA-17-

CV-1072-DAE, 2018 U.S. Dist. LEXIS 179561, at *5 (W.D. Tex. Oct. 18, 2018) (quoting Kumho

Tire Co., Ltd. v Carmichael, 526 U.S. 147, 141 (1999)). The party advancing expert testimony

bears the burden of establishing that it is admissible. Moore v. Ashland Chem. Inc., 151 F.3d 269,

276 (5th Cir. 1998).




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   B.      Mr. Shaffer’s Proposed Testimony Is an Impermissible Legal Analysis.

        The Court should strike Southwest’s designation of Mr. Shaffer as an expert witness

because he proposes to testify to his interpretation of the law, not to any expert knowledge of the

relevant facts. The law is clear: “Experts cannot ‘render conclusions of law’ or provide opinions

on legal issues.” Renfroe v. Parker, 974 F.3d 594, 598 (5th Cir. 2020) (quoting Goodman v. Harris

Cnty., 571 F.3d 388, 399 (5th Cir. 2009)). “[T]here is one, but only one, legal answer for every

cognizable dispute . . . [and] it requires only one spokesman of the law, who of course is the

judge.” Askanase v. Fatjo, 130 F.3d 657, 673 (5th Cir. 1997) (quoting Specht v. Jensen, 853 F.2d

805, 807 (10th Cir. 1988)).

        Courts routinely exclude legal opinions masked as expert testimony. In Askanase, the court

held that an expert opinion regarding whether corporate officers fulfilled their fiduciary duties,

and, if not, how and to what extent they breached those duties, was “a legal opinion and

inadmissible.” Id. In Albert Sidney Johnston Chapter, this Court struck the designation of a

municipal-law attorney as an expert witness planning to testify on whether a party received due

process. 2018 U.S. Dist. LEXIS 179561 at *11. The Court would not permit the proposed witness

“to testify as a legal expert as to the contours of federal law on procedural due process or as to

what standards should apply in this case.” Id. at *8. Even where the proposed witness’s testimony

seemed to incorporate questions of fact, the Court determined such testimony “falls into the gray

area where ultimate issues of fact track closely with legal conclusions and therefore invades the

province of the factfinder.” Id. at *10-11. “Where a witness’s testimony expresses an ultimate

view on whether the underlying conduct in a case violated the Constitution, this opinion is no

longer only a fact-based opinion but a statement of legal conclusion.” Id. at *11.

        Here, the Designation makes clear that Mr. Shaffer intends to present impermissible legal

testimony by testifying about his interpretation of the ADA. Southwest states that Mr. Shaffer will
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testify that the ADA’s “prohibition against state and local governments enforcing provisions

relating to air carrier routes and services applies to the criteria adopted by the City” for allocating

gate space in the new Terminal C, and that such criteria “had the force and effect of law.”

Designation § 2. Both of those assertions are purely legal conclusions, and offer no insight, much

less expert insight, into any question of fact.

        The Designation’s summary of facts and opinions to which Mr. Shaffer is expected to

testify confirms that he will offer only impermissible legal conclusions. Mr. Shaffer describes the

enactment of the ADA and Congress’s intent in enacting the ADA, citing to statute and “[r]eported

federal decisions.” Designation § 3(1)-(4). He then makes the legal conclusion that the City “has

crossed the line . . . into territory which is preempted at the federal level.” Id. § 3(5). In subsequent

paragraphs, Mr. Shaffer applies the ADA’s preemptive language to the facts of this case. Id.

§ 3(6)-(7), (12), (15)-(16). Mr. Shaffer also identifies Federal Aviation Administration (“FAA”)

guidance and other “learned references” he perceives to establish legal standards applicable to the

City’s decision. Id. § 3(9)-(12). Ultimately, Mr. Shaffer proposes to testify that the City “is not

presently in compliance with its statutory obligations” and that its gate-allocation criteria are

“preempted by federal statute.” Id. § 3(16).

        Nowhere in the summary of facts and opinions does Mr. Shaffer explain his particular

expertise or why that expertise is needed or helpful to any question of fact in this case. Instead,

Mr. Shaffer’s opinions attempt to state what the law is and why the City violated that law. Indeed,

his proposed testimony reads more like a legal brief—and tracks closely the merits argument

Southwest advanced in its motion for a temporary restraining order. See supra p. 2-3; ECF No. 2

at 12-16. Mr. Shaffer’s opinions merely “parrot[]” Southwest’s claim, “dressing it up and

sanctifying it as the opinion of an expert.” Reitz v. Woods, 85 F.4th 780, 788 (5th Cir. 2023)



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(cleaned up); see also Albert Sidney Johnston Chapter, 2018 U.S. Dist. LEXIS 179561 at *9

(striking expert witness designation where proposed opinion “read[] more like a section of a

summary judgment brief than an expert report”).

        Southwest’s designation presents Mr. Shaffer as “a spokesman of the law,” Askanase, 130

F.3d at 673, to “improperly assume[] the role of judge in this case,” Nirenberg, 2018 U.S. Dist.

LEXIS 179561, at *11. That clearly exceeds the scope of permissible expert testimony. Renfroe,

974 F.3d at 598; Goodman, 571 F.3d at 399. As such, the Court should strike the Designation.

   C.      Mr. Shaffer Does Not Satisfy the Rule 702 Standard to Testify as an Expert
           Witness.

        The Court should also strike the Designation because it does not demonstrate that Mr.

Shaffer meets the legal standard to testify as an expert witness. “Rule 702 charges trial courts to

act as ‘gate-keepers,’ making a ‘preliminary assessment of whether the reasoning or methodology

underlying the testimony is scientifically valid and of whether that reasoning or methodology

properly can be applied to the facts in issue.’” Reitz , 85 F.4th at 787 (quoting Daubert v. Merrell

Dow Pharms., Inc., 509 U.S. 579, 589 (1993)). “[T]he court must focus on the expert’s principles

and methodology, not on the conclusions generated.” Amini-Akbari v. City of Austin, 52 F. Supp.

3d 830, 838 (W.D. Tex. 2014) (cleaned up).

        Mr. Shaffer’s proposed testimony does not meet any of the requirements of Rule 702. First,

the Designation does not identify the “scientific, technical, or other specialized knowledge”

possessed by Mr. Shaffer that will “help the trier of fact to understand the evidence or to determine

a fact in issue.” Fed. R. Evid. 702(a). Southwest has attached Mr. Shaffer’s resume to the

Designation, but does not explain how the experience listed on that resume makes Mr. Shaffer an

expert or will be employed by Mr. Shaffer to assist the Court. Indeed, nothing in his resume shows

any experience, much less expertise, in terminal planning or design, in gating decisions, or even


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in the ADA. To the extent Southwest may contend that Mr. Shaffer will provide “specialized

knowledge” regarding the legality of the criteria the City considered in its gate allocation decision,

that is a legal opinion that exceeds the scope of permissible expert testimony, for all the reasons

discussed above. Supra Part III.B; Atkinson v. Meridian Sec. Ins. Co., No. SA-21-CV-00723-XR,

2022 U.S. Dist. LEXIS 151844, at *12 (W.D. Tex. Aug. 24, 2022) (Rodriguez, J.) (noting that

“credentials and a subjective opinion . . . do not pass muster under Daubert and are not admissible”

(cleaned up)).

        Second, the Designation offers little reason to believe that Mr. Shaffer’s “testimony is

based on sufficient facts or data.” See Fed. R. Evid. 702(b). Mr. Shaffer summarily states that he

has reviewed the AULA and “responses to various discovery” and cites to statutory language and

non-binding guidance documents. Designation § 3(3), (5), (9)-(11). It is not clear from the

Designation what, if any, other materials Mr. Shaffer has reviewed and used to form his opinions.

Yet he boldly asserts the legal conclusion that the City is “not presently in compliance with its

statutory obligations.” Id. § 3(16). Mr. Shaffer’s proposed opinions are not clearly grounded in

facts or data.

        Third, the Designation fails to establish that Mr. Shaffer’s testimony would be “the product

of reliable principles and methods” because the Designation does not indicate any principles or

methods of analysis at all. See Fed. R. Evid. 702(c). Rather, Mr. Shaffer merely offers his

unsupported opinion on how the Court should construe the ADA—the central legal issue in this

case—and then asserts, with no apparent basis, that the City “must” employ gate-allocation criteria

purportedly described in a non-binding advisory document. Designation § 3(1)–(4), (6)–(8), (14)–

(16) (purporting to construe and apply ADA); id. § 3(8) (asserting that airport sponsors “must”

employ certain gate-allocation criteria). This is insufficient under Rule 702. See Atkinson, 2022



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U.S. Dist. LEXIS 151844 at *11-12 (explaining that listing documents relied on, providing a

timeline of events, and reaching a conclusion was insufficient to show the facts and analyses

underlying a proposed expert’s opinions). Perhaps the Designation’s failure to describe Mr.

Shaffer’s methods is intentional: an explanation that Mr. Shaffer considered the governing legal

principles and applied them to the facts to reach a conclusion about the City’s compliance with

law would be an admission that Mr. Shaffer is offering impermissible legal opinion.

       Fourth, any application of principles and methods to the facts of this case does not appear

to have been done “reliabl[y],” Fed. R. Evid. 702(d), because Mr. Shaffer has relied on a source

that offers no guidance here. Mr. Shaffer appears to have applied FAA Advisory Circular

150/5360-13A, Airport Terminal Planning (2018) (the “Advisory Circular”). 1 Designation

§ 3(9)-(10), (12). But the Advisory Circular does not discuss at all the factors that an airport

sponsor should consider in determining which gates should be assigned to which airline. Advisory

Circular ¶ 1.3.2 Thus, Mr. Shaffer bases his analysis on a non-binding technical design document

that does not provide guidance on allocating gates among airlines. This renders his opinion

unreliable.

       Mr. Shaffer does not meet the legal standard to testify as an expert witness under Rule 702

and the law applied in this Court, and the Designation should be struck.


       1
                The        Advisory         Circular        is       available       at:
https://www.faa.gov/documentLibrary/media/Advisory_Circular/AC-150-5360-13A-Airport-
Terminal-Planning.pdf.
       2
         The only section of the Advisory Circular that seems even remotely pertinent to gate
assignments is Paragraph 7.3.5.1, which lists “basic criteria associated with parking position
layouts.” Advisory Circular ¶ 7.3.5.1. These include gate width, wingtip clearance, nose to
building clearance, gate depth, ground-service-equipment considerations, service-roadway
location, visibility, airspace safety, jet-blast concerns, and utilities availability. Id. There is no
discussion of assigning gates to specific airline tenants. Similarly, none of the Transportation
Research Board reports cited in the Advisory Circular discuss how an airport proprietor should
assign gates to specific tenants. .

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                                        CONCLUSION

       For the foregoing reasons, the City respectfully requests that the Court strike Southwest’s

Designation of Testifying Expert Kirk Shaffer, Esq.

       Respectfully submitted this 18th day of November 2024.

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                             CERTIFICATE OF CONFERENCE

        I certify that on November 18, 2024, counsel conferred by email in an effort to resolve the

issues presented in this motion but were unable to reach a resolution.

                                                     /S/ W. Eric Pilsk
                                                     W. Eric Pilsk



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 18, 2024, he caused true and correct

copies of Defendants’ Motion to Strike Plaintiff’s Designation of Testifying Expert Kirk Shaffer,

Esq. to be served upon all counsel of record via the Court’s electronic filing system.

                                                     /S/ W. Eric Pilsk
                                                     W. Eric Pilsk




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